               Case 18-01046-abl      Doc 26   Entered 11/01/18 15:20:56      Page 1 of 2



 1   CHRISTOPHER P. BURKE, ESQ.                                          ECF Filed on 11/1/2018
     Nevada Bar No.: 004093
 2   atty@cburke.lvcoxmail.com
     218 S. Maryland Pkwy.
 3   Las Vegas, Nevada 89101
     (702) 385-7987
 4   Attorney for Defendants
     ODIN, LLC. and Julia Vassina
 5
 6                          UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEVADA
 7
8    In re:                                             Adv. No.: 18-01046-ABL
 9   SOUTHEAST HOLDING CORPORATION,                     Chapter 7
10                                                      Case No.: 17-12299-ABL
                            Debtor.
11
     BRIAN SHAPIRO, Trustee;
12
                             Plaintiff,
13
     vs.
14
     ODIN, LLC.; and
15   JULIA VASSINA;
                                                        Date: November 19, 2018
16                          Defendants.                 Time: 9:30 a.m.
17
18                                  CERTIFICATE OF SERVICE

19            I hereby certify that I am an employee of Christopher P. Burke, Esq., and on the 1st
20   day of November, 2018, I caused to be served a true and correct copy of:
21            1.     Notice of Motion, Motion to Allow Withdrawal of Counsel and Order
22   Shortening Time (Dkt.#16, #24, Dkt. #25):
23
24          X      (Under Administrative Order 02-1(Rev.8-31-04) of the United States
     Bankruptcy Court for the District of Nevada, the above- referenced document was
25   electronically filed on the date hereof and served through the Notice of Electronic Filing
26   automatically generated by that Court’s facilities.
27        X      (UNITED STATES MAIL) By depositing a copy of the above-referenced
28   document for mailing in the United States Mail, first class postage prepaid, at Las Vegas,
                                                    1
             Case 18-01046-abl      Doc 26    Entered 11/01/18 15:20:56     Page 2 of 2



 1   Nevada to the parties listed below, at their last known mailing addresses, on the date above
 2   written.

 3                (OVERNIGHT COURIER) By depositing a true and correct copy of the above-
 4   referenced document for overnight delivery via Federal Express, at a collection facility
     maintained for such purpose, addressed to the parties on the attached service list, at their
 5   last known delivery address, on the date above written.
 6
 7                 (FACSIMILE) That I served a true and correct copy of the above-referenced
     document via facsimile, to the facsimile numbers indicated, to those persons listed on the
8    attached service list, on the date above written.
 9
            DATED: November 1, 2018.
10
                                                      /S/ Adriana Pelayo
11                                                    Employee of
                                                      Christopher P. Burke, Esq.
12
     Julia Vassina
13   10787 Wilshire Blvd. APT 601
14   Los Angeles, CA 90024

15   ODIN, LLC
     Managing agent
16
     C/O INCORP SERVICES, INC.
17   36 SO 18TH Ave Ste D
     Brighton, CO 80601
18
19   Robert E. Atkinson, Esq.
     Atkinson Law Associates LTD.
20   8965 S. Eastern Ave. Suite 260
21   Las Vegas, NV 89123
     robert@nv-lawfirm.com
22   Attorney for Plaintiff
23   (sent ECF notice)

24
25
26
27
28
                                                  2
